      Case 2:23-cv-02224-MSN-atc          Document 407        Filed 05/01/25     Page 1 of 7
                                          PageID 5968



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 RowVaughn Wells, Individually and as                )
 Administratrix of the Estate of Tyre Deandre        )
 Nichols, Deceased,                                  )
                                                     )
                                                     )
          Plaintiff,                                 )
                                                     )
 v.                                                  )     CASE NO. 2:23-CV-02224-MSN-atc
                                                     )     JURY DEMAND
 The City of Memphis, Tennessee; Chief Cerelyn       )
 Davis; Emmitt Martin III;                           )
 Demetrius Haley; Justin Smith;                      )
 Desmond Mills, Jr.; Tadarrius Bean;                 )
 Preston Hemphill; Robert Long;                      )
 JaMichael Sandridge; Michelle Whitaker;             )
 DeWayne Smith,                                      )
                                                     )
          Defendants.                                )


     SUPPLEMENTAL REPLY IN SUPPORT OF MOTION TO VACATE PLAINTIFF’S
               IMPROPER CONFIDENTIALITY DESIGNATIONS


         Defendant City of Memphis (the “City”) submits this Supplemental Reply in Support of

its Motion to Vacate Plaintiff’s Improper Confidentiality Designations. (ECF No. 286, 287.) In

support, the City states the following:

I.       BACKGROUND

         On January 22, 2025, the City Defendants filed their Motion to Vacate Plaintiff’s

Improper Confidentiality Designations (the “Motion to Vacate”). (See ECF Nos. 286, 287.) On

February 5, 2025, Plaintiff filed a Response in Opposition to City Defendants’ Motion to Vacate

Plaintiff’s Improper Confidentiality Designations. (See ECF Nos. 294, 295.) On February 18,


                                                 1
4929-6449-0556
      Case 2:23-cv-02224-MSN-atc          Document 407        Filed 05/01/25      Page 2 of 7
                                          PageID 5969



2025, with leave from the Court, the City filed a Reply in Support of its Motion to Vacate

Plaintiff’s Improper Confidentiality Designations. (See ECF Nos. 297, 288, 305.)

         The Motion to Vacate remains pending before the Court. The City continues to rely on

that Motion. This Reply is intended to supplement the previous filing based on a recent opinion

of the Sixth Circuit and to point out a very important detail in the Agreed Protective Order.

         Specifically, based on the plain language of the Agreed Protective Order (ECF No. 213),

Plaintiff’s attempt at designating testimony given by non-party witnesses as “CONFIDENTIAL”

is improper. Also, the Sixth Circuit’s recent opinion in Grae v. Corrections Corporation of

America, — F.4th —, No. 24-5839, 2025 WL 1132413 (6th Cir. Apr. 17, 2025) provides

additional guidance on the propriety of sealing deposition transcripts from the public docket.

II.      ARGUMENT

         A.      Plaintiff’s Confidentiality Designations Are Improper Based on the Plain
                 Language of the Agreed Protective Order.

         The Agreed Protective Order does not contemplate a scenario in which Plaintiff may

designate a non-party witness’s statements as “CONFIDENTIAL.” Under the Agreed Protective

Order, “[p]ortions of depositions shall be deemed ‘CONFIDENTIAL’ . . . subject to this

[Agreed] Protective Order . . . .” (ECF No. 213, PageID 1644, at Sect. IV.) In other words,

materials may not be designated “CONFIDENTIAL” unless the materials fall within the

definition of “CONFIDENTIAL” as provided for in the Agreed Protective Order.

         Materials may only be designated as “CONFIDENTIAL” if the material is a document

produced, a statement made, or an answer given by any party during the course of discovery.

(Id., PageID 1639–40, at Sect. I.) Non-party deposition testimony is not a statement made, nor an

answer given, by a party, and thus may not be designated as CONFIDENTIAL by Plaintiff.

Consequently, any party—including Plaintiff—may not, designate deposition testimony of a non-
                                            2
4929-6449-0556
     Case 2:23-cv-02224-MSN-atc            Document 407        Filed 05/01/25      Page 3 of 7
                                           PageID 5970



party witness CONFIDENTIAL, under the Agreed Protective Order. This is clearly indecorous as

it falls outside the ambit of the plain language of the Agreed Protective Order.

         This makes sense. In this case, Plaintiff has designated as CONFIDENTIAL significant

portions of deposition transcripts for four non-party witnesses: Marvin Volker, Lori Volker, Kris

Volker, and the mother of Mr. Nichols’ minor child. Plaintiff’s counsel does not represent these

witnesses, and as such, Plaintiff’s counsel has no ground to shield the nature of the witness’s

testimony as they see fit. Any concern about the protection of sensitive information from non-

party witnesses, such as personally identifiable information, is addressed by the Federal Rules of

Civil Procedure and the Local Rules of this Court. Fed. R. Civ. P. 5.2; LR 3.2, Appx. A., Sect.

13.4.2. The protection prescribed by these Rules is appropriate but limited. The Agreed

Protective Order is not written to permit Plaintiff’s counsel to extend the protection of sworn

testimony of witnesses whom they do not represent.

         B.      The Grae Case Supports Vacating Plaintiff’s Improper Confidentiality
                 Designations.

         The Sixth Circuit published a new opinion on April 17, 2025 with relevance to the City’s

arguments in the Motion to Vacate. Grae v. Corrections Corp. of Am., — F.4th —, No. 24-5839,

2025 WL 1132413 (6th Cir. Apr. 17, 2025). In Grae, the Sixth Circuit vacated the district court’s

order declining to unseal deposition transcripts filed by the parties in support of their various

pleadings and filings. Relying upon the Shane Group factors, inter alia, the Sixth Circuit

recognized that “[o]ur court has held again and again that only the most compelling reasons can

justify non-disclosure of court records.’” Grae, 2025 WL 1132413, at *4–5 (cleaned up and

quotation omitted); see also United States v. EES Coke Battery, LLC, No. 22-11191, 2025 WL




                                                  3
4929-6449-0556
     Case 2:23-cv-02224-MSN-atc            Document 407         Filed 05/01/25      Page 4 of 7
                                           PageID 5971



1172449, at *1 (E.D. Mich. Apr. 22, 2025) (recognizing the Sixth Circuit’s reaffirmation of the

mandate).

         Since November 2024, several of the City’s filings have been filed under seal, filed with

portions redacted from public view and/or anonymizations, or have been sealed and/or removed

from the public docket by the Court. (See ECF Nos. 230, 239, 240, 243, 244, 260, 286, 287, 305,

383.) Each of these filings have been, in whole or in part, shielded from public access due to

references to non-party witness deposition testimony that Plaintiff designated as

CONFIDENTIAL. As explained in the City’s Motion to Vacate, Plaintiff’s confidentiality

designations are substantively improper, and the CONFIDENTIAL designation was used as a

means for shielding unfavorable deposition testimony from public view. This is why the holding

in Grae is relevant to the present issue: But for Plaintiff’s improper designations, the City’s

filings would not have been filed under seal or otherwise shielded from the public docket.

         Importantly, the Sixth Circuit specifically defined “judicial records” in the context of a

presumption of public access as documents “‘filed with the objective of obtaining judicial action

or relief’ or otherwise play[ing] ‘a role in the adjudicative process.’” Grae, 2025 WL 1132413, at

*3. Here, the deposition transcripts of the non-party witnesses at issue (ECF Nos. 240, 244) fall

within this definition. The City filed these deposition transcripts in support of their overall

response in opposition to Plaintiff’s Motion for Protective Order (ECF No. 211) for the purpose

of aiding the Court in ruling on the issue of relevance. (See ECF Nos. 216, 239, 240, 243.) Even

if the Court ultimately deems the sealed portions of the transcripts not relevant, “a determination

that material is irrelevant can itself ‘reveal something valuable about the judicial process.’”

Grae, 2025 WL 1132413, at *3 (quoting City of Greenville v. Syngenta Crop Protection, LLC,

764 F.3d 695, 698 (7th Cir. 2014)).

                                                   4
4929-6449-0556
       Case 2:23-cv-02224-MSN-atc          Document 407        Filed 05/01/25     Page 5 of 7
                                           PageID 5972



         Of note, the Sixth Circuit did not make a distinction between the public disclosure of

materials produced in discovery and public disclosure of materials accompanying court filings.

In fact, in EES Coke Battery, which relied on Grae, the deposition transcripts at issue were filed

in connection with both discovery motions and dispositive motions. EES Coke Battery, 2025 WL

1172449, at *1. Thus, deposition transcripts filed with the Court to support arguments made in

connection with a discovery motion are not automatically immune from the presumption of

public access.

         In sum, the only reason the non-party deposition transcripts (and any references to the

testimony therein) were required to be filed under seal is that Plaintiff improperly designated

them as CONFIDENTIAL in the first place. The Court should consider the Sixth Circuit’s

analysis in Grae as further support for the impropriety of Plaintiff’s confidentiality designations

of non-party witness testimony.

III.     CONCLUSION

         For these additional reasons, the Court should vacate Plaintiff’s improper

CONFIDENTIAL designations.

         Dated: May 1, 2025

                                                      Respectfully submitted,


                                                      BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, P.C.

                                                      s/ Bruce McMullen
                                                      Bruce McMullen (#18126)
                                                      Jennie Vee Silk (#35319)
                                                      165 Madison Avenue, Suite 2000
                                                      Memphis, Tennessee 38103
                                                      Telephone: (901) 526-2000
                                                      bmcmullen@bakerdonelson.com

                                                  5
4929-6449-0556
     Case 2:23-cv-02224-MSN-atc   Document 407    Filed 05/01/25     Page 6 of 7
                                  PageID 5973



                                           jsilk@bakerdonelson.com

                                           Attorneys for Defendant City of Memphis,
                                           Chief Cerelyn Davis in her Individual
                                           Capacity, and Dewayne Smith as Agent of
                                           the City of Memphis




                                       6
4929-6449-0556
    Case 2:23-cv-02224-MSN-atc          Document 407        Filed 05/01/25     Page 7 of 7
                                        PageID 5974



                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing has been served upon all
counsel of record and the Guardian Ad Litem via the Court’s electronic filing system on May
1, 2025.

                                                   s/ Bruce McMullen
                                                   Bruce McMullen
